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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                    )
In re:                                              )          Chapter 11
                                                    )
SPORTCO HOLDINGS, INC., et al.,1                    )          Case No. 19-11299 (LSS)
                                                    )
                          Debtors.                  )          (Jointly Administered)
                                                    )

                     NOTICE OF AGENDA OF MATTERS SCHEDULED
                   FOR HEARING ON AUGUST 6, 2019 AT 10:00 A.M. (ET)2

RESOLVED MATTERS

1.       Application of the Official Committee of Unsecured Creditors for an Order Authorizing
         and Approving the Employment and Retention of Lowenstein Sandler LLP as Counsel to
         the Official Committee of Unsecured Creditors Effective as of June 17, 2019 [Docket No.
         112; Filed: 7/3/2019]

         Objection Deadline:                July 24, 2019 at 4:00 p.m.

         Related Document(s):

                 a)       Certificate of No Objection Regarding Application of the Official
                          Committee of Unsecured Creditors for an Order Authorizing and
                          Approving the Employment and Retention of Lowenstein Sandler LLP as
                          Counsel to the Official Committee of Unsecured Creditors Effective as of
                          June 17, 2019 [Docket No. 207; Filed: 7/29/2019]

                 b)       Order Authorizing and Approving the Employment and Retention of
                          Lowenstein Sandler LLP as Counsel to the Official Committee of
                          Unsecured Creditors Effective as of June 17, 2019 [Docket No. 218;
                          Entered: 8/1/2019]

         Response(s) Received:              None.

1
 The Debtors, together with the last four digits of each Debtor’s federal tax identification number, are: Bonitz
Brothers, Inc. (4441); Ellett Brothers, LLC (7069); Evans Sports, Inc. (2654); Jerry’s Sports, Inc. (4289); Outdoor
Sports Headquarters, Inc. (4548); Quality Boxes, Inc. (0287); Simmons Guns Specialties, Inc. (4364); SportCo
Holdings, Inc. (0355); and United Sporting Companies, Inc. (5758). The location of the Debtors’ corporate
headquarters and the service address for all Debtors is 267 Columbia Ave., Chapin, SC, 29036.
2
  This hearing will take place before the Honorable Laurie Selber Silverstein at the United States Bankruptcy Court
for the District of Delaware, 824 N. Market Street, 6th Floor, Courtroom No. 2, Wilmington, Delaware 19801.
Parties wishing to participate telephonically must make arrangements through CourtCall at 1-866-582-6878 in
advance of the hearing.



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         Status:        An order has been entered. No hearing is necessary.

2.       Application for Entry of an Order Authorizing and Approving the Employment of Morris
         James LLP as Co-Counsel to the Official Committee of Unsecured Creditors Nunc Pro
         Tunc to June 17, 2019 [Docket No. 113; Filed: 7/3/2019]

         Objection Deadline:          July 24, 2019 at 4:00 p.m.

         Related Document(s):

                   a)   Certificate of No Objection Regarding Application for Entry of an Order
                        Authorizing and Approving the Employment of Morris James LLP as Co-
                        Counsel to the Official Committee of Unsecured Creditors Nunc Pro Tunc
                        to June 17, 2019 [Docket No. 208; Filed: 7/29/2019]

                   b)   Order Granting Application Authorizing and Approving the Employment
                        of Morris James LLP as Co-Counsel to the Official Committee of
                        Unsecured Creditors Nunc Pro Tunc to June 17, 2019 [Docket No. 217;
                        Entered: 7/29/2019]

         Response(s) Received:        None.

         Status:        An order has been entered. No hearing is necessary.

MATTER WITH CERTIFICATION OF COUNSEL

3.       Debtors’ Application for Entry of an Order Authorizing Employment and Retention of
         BMC Group, Inc. as Administrative Advisor Nunc Pro Tunc to the Petition Date [Docket
         No. 162; Filed: 7/16/2019]

         Objection Deadline:          July 30, 2019 at 4:00 p.m.

         Related Document(s):

                   a)   Certification of Counsel Regarding Order Authorizing Employment and
                        Retention of BMC Group, Inc. as Administrative Advisor Nunc Pro Tunc
                        to the Petition Date [Docket No. 215; Filed: 7/31/2019]

         Response(s) Received:        Informal comments from the United States Trustee

         Status:        A revised proposed form of order has been filed under certification of
                        counsel. No hearing is necessary unless the Court directs otherwise.




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MATTER GOING FORWARD

4.       Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing the Debtors to
         Obtain Postpetition Financing, (II) Authorizing the Debtors to Use Cash Collateral, (III)
         Granting Liens and Providing Superpriority Administrative Expense Status, (IV)
         Granting Adequate Protection to the Prepetition Lenders, (V) Modifying Automatic Stay,
         (VI) Scheduling a Final Hearing, and (VII) Granting Related Relief [Docket No. 8; Filed:
         6/10/2019]

         Objection Deadline:          July 9, 2019 at 4:00 p.m. (The Official Committee of
                                      Unsecured Creditors was granted an extension to respond
                                      until July 12, 2019 at 4:00 p.m.)

         Related Document(s):

                a)     Interim Order (I) Authorizing the Debtors to Obtain Postpetition
                       Financing, (II) Authorizing the Debtors to Use Cash Collateral, (III)
                       Granting Liens and Providing Superpriority Administrative Expense
                       Status, (IV) Granting Adequate Protection to the Prepetition Lenders, (V)
                       Modifying Automatic Stay, (VI) Scheduling a Final Hearing, and (VII)
                       Granting Related Relief [Docket No. 51; Entered: 6/13/2019]

                b)     Omnibus Notice of Pleadings and Hearing Thereon [Docket No. 53; Filed:
                       6/13/2019]

                c)     Bridge Order Amending the Court’s Interim Order (I) Authorizing the
                       Debtors to Obtain Postpetition Financing, (II) Authorizing the Debtors to
                       Use Cash Collateral, (III) Granting Liens and Providing Superpriority
                       Administrative Expense Status, (IV) Granting Adequate Protection to the
                       Prepetition Lenders, (V) Modifying Automatic Stay, (VI) Scheduling a
                       Final Hearing, and (VII) Granting Related Relief [Docket No. 160;
                       Entered: 7/16/2019]

                d)     Second Bridge Order Amending the Court’s Interim Order (I) Authorizing
                       the Debtors to Obtain Postpetition Financing, (II) Authorizing the Debtors
                       to Use Cash Collateral, (III) Granting Liens and Providing Superpriority
                       Administrative Expense Status, (IV) Granting Adequate Protection to the
                       Prepetition Lenders, (V) Modifying Automatic Stay, (VI) Scheduling a
                       Final Hearing, and (VII) Granting Related Relief [Docket No. 209;
                       Entered: 7/29/2019]

                e)     Notice of Filing of Revised Proposed Clean and Blackline Final DIP Order
                       [Docket No. 220; Filed: 8/1/2019]




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         Response(s) Received:

                   a)   Omnibus Limited Objection and Reservation of Rights of Second Priority
                        Agent Concerning the Budget and the Debtors’ First Day Motions [Docket
                        No. 17; Filed: 6/10/2019]

                   b)   Debtors’ Response to Omnibus Limited Objection and Reservation of
                        Rights of Second Priority Agent [Docket No. 33; Filed: 6/11/2019]

                   c)   Objection of the Official Committee of Unsecured Creditors to Motion of
                        the Debtors for Entry of Interim and Final Orders (I) Authorizing the
                        Debtors to Obtain Postpetition Financing, (II) Authorizing the Debtors to
                        Use Cash Collateral, (III) Granting Liens and Providing Superpriority
                        Administrative Expense Status, (IV) Granting Adequate Protection to the
                        Prepetition Lenders, (V) Modifying Automatic Stay, (VI) Scheduling a
                        Final Hearing, and (VII) Granting Related Relief [Docket No. 130; Filed:
                        7/12/2019]

                   d)   Supplemental Objection of the Official Committee of Unsecured Creditors
                        to Motion of the Debtors for Entry of Interim and Final Orders (I)
                        Authorizing the Debtors to Obtain Postpetition Financing, (II) Authorizing
                        the Debtors to Use Cash Collateral, (III) Granting Liens and Providing
                        Superpriority Administrative Expense Status, (IV) Granting Adequate
                        Protection to the Prepetition Lenders, (V) Modifying Automatic Stay, (VI)
                        Scheduling a Final Hearing, and (VII) Granting Related Relief [Docket
                        No. 146; Filed: 7/15/2019]

                   e)   Debtors’ Response to the Supplemental Objection of the Official
                        Committee of Unsecured Creditors to Motion of the Debtors for Entry of
                        Interim and Final Orders (I) Authorizing the Debtors to Obtain
                        Postpetition Financing, (II) Authorizing the Debtors to Use Cash
                        Collateral, (III) Granting Liens and Providing Superpriority
                        Administrative Expense Status, (IV) Granting Adequate Protection to the
                        Prepetition Lenders, (V) Modifying Automatic Stay, (VI) Scheduling a
                        Final Hearing, and (VII) Granting Related Relief [Docket No. 150; Filed:
                        7/16/2019]

                   f)   Informal comments from the United States Trustee

         Status:        This matter will go forward. The Debtors will continue their good faith
                        efforts to resolve any remaining outstanding issues raised by the
                        responding parties in advance of the hearing.




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Dated: August 2, 2019             POLSINELLI PC
       Wilmington, Delaware
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                                  -and-

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                                  Debtors in Possession




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